Case 1:23-cv-01228-JRS-MG Document 21 Filed 11/23/23 Page 1 of 1 PageID #: 194




                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA


                                                                  PRO SE
  D. G. Sweigert,
  Plaintiff                                               1:23-cv-01228-JRS-MG

                    -against-                           Judge James R. Sweeney II

  Jason Goodman,                                      Magistrate Judge Mario Garcia

  21st Century 3D
                                                                 FILED
  CrowdSource The Truth
                                                                11/23/2023
  PATREON, INC.                                           U.S. DISTRICT COURT
  A Delaware Corporation                               SOUTHERN DISTRICT OF INDIANA
                                                           Roger A.G. Sharpe, Clerk
  Defendants



                     PLAINTIFF’S REQUEST FOR JUDICIAL NOTICE
                             PURSUANT TO F.R.E. 201 (b)


 In light of Defendant Goodman’s docketing of his motion papers at ECF no. 18, the pro se

 Plaintiff (undersigned) attaches truthful and accurate copies of relevant judicial orders for this

 Court’s consideration. These judicial orders represent adjudicated facts. The Plaintiff requests

 that this Court take notice of the orders themselves pursuant to Federal Rules of Evidence

 (F.R.E.) Rule 201 (b)(1) – (2). These adjudicative findings involve the immediate parties.


 Sworn under penalties of perjury. Signed November 22, 2023 (11/22/2023)



                                                  D. G. SWEIGERT PRO SE PLAINTIFF, C/O
                                                             PMB 13339, 514 Americas Way,
                                                                      Box Elder, SD 57719


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